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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA

                 v.                                        Crim. Action No. 02-310 (JDB)
 KEVIN JOHNSON,
         Defendant.


                           MEMORANDUM OPINION & ORDER

       Kevin Johnson moves for compassionate release under 18 U.S.C. § 3582(c)(1)(A) in light

of the threat posed by the COVID-19 pandemic. See Mot. Pursuant to 18 U.S.C. § 3582(c) for

Order Reducing Sentence & Granting Immediate Release (“Release Mot.”) [ECF No. 54] at 1.

Mr. Johnson is 59 years old and currently incarcerated at FCI Cumberland, a medium-security

facility in Cumberland, Maryland, where he has served about 216 months of his total 322-month

sentence. See id. at 2; Ex. A to Release Mot. [ECF No. 61] at 3, 5, 12 (confirming Mr. Johnson’s

current age). His scheduled release date is June 5, 2025, see id.; Find a Prisoner, Federal Bureau

of Prisons, https://www.bop.gov/inmateloc/ (last accessed on Sept. 11, 2020), but he argues that

his advanced age, in combination with high cholesterol, farsightedness, and high blood pressure,

place him at an increased risk of severe disease if he were to contract COVID-19, see Release Mot.

at 2, 4–5. In light of that risk, and his allegedly “excellent behavioral record” in prison, Mr.

Johnson argues that the Court should grant him immediate release or, at minimum, permit him to

serve the rest of his sentence on home confinement.

       The government opposes the motion, arguing both (1) that Mr. Johnson fails to demonstrate

that his underlying health conditions pose an “extraordinary and compelling reason[]” for his

release under § 3583(c), and (2) that the gravity of his offense necessitates that Mr. Johnson serve


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his full term of incarceration. See United States’ Opp’n to Def.’s Mot. Pursuant to 18 U.S.C.

§ 3582(c) for Order Reducing Sentence & Granting Immediate Release (“Gov’t’s Opp’n”) [ECF

No. 59] at 1–2. For the reasons explained below, the Court agrees with the government that Mr.

Johnson does not present “extraordinary and compelling reasons” under § 3582(c) for a reduction

in his sentence and will thus deny his motion.

       Under the First Step Act of 2018, a court may, upon motion of the Bureau of Prisons or a

defendant, reduce a defendant’s term of imprisonment if, “after considering the factors set forth in

[18 U.S.C. § 3553(a)] to the extent that they are applicable,” the court concludes that

“extraordinary and compelling reasons warrant such a reduction” and that “such a reduction is

consistent with applicable policy statements issued by the Sentencing Commission.” 18 U.S.C.

§ 3582(c)(1)(A)(i); see also USSG § 1B1.13 (setting forth the Commission’s policy statement,

which requires (among other things) that the defendant’s release not pose “a danger to the safety

of any other person or to the community”). “As the moving party, the defendant bears the burden

of establishing that he is eligible for a sentence reduction under § 3582(c)(1)(A).” United States

v. Demirtas, No. 11-cr-356 (RDM), 2020 WL 3489475, at *1 (D.D.C. June 25, 2020). And a court

may consider a defendant’s motion for such a reduction only “after the defendant has fully

exhausted all administrative rights to appeal a failure of the Bureau of Prisons to bring [such] a

motion on the defendant’s behalf or the lapse of 30 days from the receipt of such a request by the

warden of the defendant’s facility, whichever is earlier.” 18 U.S.C. § 3582(c)(1)(A).

       To start, the parties agree that Mr. Johnson has satisfied § 3582(c)(1)’s exhaustion

requirement by waiting 30 days from the warden’s receipt of his request before filing his motion.

See Release Mot. at 16, Gov’t’s Opp’n at 2. The Court thus turns directly to the merits of the

motion for compassionate release.



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         Mr. Johnson argues that the combination of his advanced age (59 years old) and his

underlying health conditions (high cholesterol, farsightedness, and high blood pressure) place him

at an increased risk of suffering severe illness if infected with COVID-19 such that there are

“extraordinary and compelling reasons” for his release under § 3582(c)(1)(A). Release Mot. 4–

15. To that end, he marshals over two dozen cases where courts have granted compassionate

release to prisoners with preexisting medical conditions and/or advanced age. See id. at 11–15.

Mr. Johnson also highlights the higher rates of COVID-19 infection in the federal prison system

than in the wider community and argues that his continued detention at FCI Cumberland increases

the risk that he will contract the disease. See id. at 5–10.

         None of these factors, alone or in combination, qualify as “extraordinary and compelling

reasons” for release under § 3582(c)(1)(A). First, “the mere existence of COVID-19 in society

and the possibility that it may spread to a particular prison alone cannot independently justify

compassionate release.” United States v. Raia, 954 F.3d 594, 597 (3d Cir. 2020). Instead, the

Court must look to Mr. Johnson’s specific health concerns and to the conditions at FCI

Cumberland to determine whether “extraordinary and compelling reasons” for release exist. Such

reasons include, at minimum, those circumstances defined in the Guidelines, such as “suffering

from a terminal illness” and “suffering from a serious physical or medical condition . . . that

substantially diminishes the ability of the defendant to provide self-care within the environment of

a correctional facility and from which he or she is not expected to recover,” USSG § 1B1.13, cmt.

(n.1). Some courts have also considered circumstances that are “comparable or analogous to what

the [Sentencing] Commission has already articulated as criteria for compassionate release.”

United States v. Fox, Criminal No. 2:14-cr-03-DBH, 2019 WL 3046086, at *3 (D. Me. July 11,

2019).



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       Even under this more expansive set of circumstances, however, Mr. Johnson fails to

demonstrate that his health conditions place him at an “extraordinary and compelling” need for

release. In terms of age, Mr. Johnson is 59 years old, and while he is at an increased risk of serious

illness relative to inmates in their 30s or 40s, the Centers for Disease Control and Prevention has

identified people over the age of 65—and especially over the age of 85—as being particularly

vulnerable.       See       Older   Adults,     Centers   for   Disease   Control   &     Prevention,

https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/older-adults.html               (last

accessed on Sept. 11, 2020). Therefore, Mr. Johnson’s age standing alone is not sufficient to

warrant release. Cf. United States v. Pena, Cr. No. 16-10236-MLW, 2020 WL 2798259, at *3 (D.

Mass. May 29, 2020) (noting the “higher risk for developing more serious complications from

COVID-19” for individuals over age 65).

       As to his health conditions, two of Mr. Johnson’s diagnoses—hyperlipidemia (high

cholesterol) and presbyopia (farsightedness), see Release Mot. at 2—are not linked to an increased

risk of severe illness from COVID-19, see People with Certain Medical Conditions, Centers for

Disease    Control      &     Prevention,     https://www.cdc.gov/coronavirus/2019-ncov/need-extra-

precautions/people-with-medical-conditions.html (last accessed on Sept. 11, 2020). Mr. Johnson’s

hypertension, which does place him at an increased risk of severe illness from COVID-19, see id.,

appears to be well managed. Indeed, according to medical records from May 26, 2020, Mr.

Johnson is taking his hypertension medication and reports no complaints. See Ex. B to Gov’t’s

Opp’n [ECF No. 60] at 2. Mr. Johnson does not contest that he has been able to manage his

condition well, and under such circumstances, the Court concludes that he “has not carried his

burden of demonstrating that his hypertension is an extraordinary and compelling reason for

release.” United States v. Orji, Criminal Action No. 18-CR-68 (BAH), 2020 WL 5107545, at *3



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(D.D.C. Aug. 31, 2020); see also United States v. Franklin, Criminal No. 07-CR-178 (JDB), 2020

WL 4049917, at *2 (D.D.C. July 20, 2020) (denying defendant’s motion under § 3582(c) given

“the absence of documentation” demonstrating the severity of his hypertension and tobacco use).

Other courts have come to a similar conclusion for prisoners of Mr. Johnson’s age with

hypertension. See, e.g., United States v. Jeffers, No. CR13-3033-LTS, 2020 WL 3100842, at *2,

7 (N.D. Iowa June 11, 2020) (finding no “extraordinary or compelling reasons” existed for a 59-

year-old prisoner with hypertension and well-controlled Type 2 diabetes); United States v. Gray,

No. 14 CR 810-10 (CM), 2020 WL 3050730, at *3 (S.D.N.Y. June 8, 2020) (finding no

“extraordinary or compelling reasons” existed for a 53-year-old prisoner with “benign”

hypertension).

       As for the many cases that Mr. Johnson cites in support of his motion, most concern

prisoners with much more severe underlying conditions than Mr. Johnson has, including some

combination of diabetes, chronic obstructive pulmonary disease, and cancer. See Release Mot. at

11–15. In the few instances where a defendant appears to suffer from hypertension alone, or in

combination with other non-aggravating health conditions, the detention facilities where those

defendants were detained were facing severe COVID-19 outbreaks, See, e.g., United States v.

Sawicz, No. 08-cr-287 (ARR), 2020 WL 1815851, at *2 (E.D.N.Y. Apr. 10, 2020) (granting

release where a defendant, suffering from only hypertension, was detained at FCI Danbury, which

had an “outbreak”). Such is not the case at FCI Cumberland, where there are currently two

prisoners with active infections, along with six prisoners and six staff members who have

recovered from COVID-19.           See COVID-19 Cases,          Federal   Bureau of Prisons,

https://www.bop.gov/coronavirus/ (last accessed on Sept. 11, 2020); see also United States v.

Willingham, No. CR 113-010-1, 2020 WL 2843223, at *2 & n.3 (S.D. Ga. June 1, 2020)



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(describing a facility’s three active cases as creating “too speculative” a risk of exposure to grant

relief).

           The Court thus concludes that Mr. Johnson has not demonstrated “extraordinary and

compelling reasons” for a sentence reduction under § 3582(c)(1)(A). And because such a finding

is necessary for either form of relief that Mr. Johnson seeks—either immediate release or home

confinement—his motion must be denied.

                                          *      *       *

           For the foregoing reasons, it is hereby ORDERED that [54] Mr. Johnson’s motion

pursuant to 18 U.S.C. § 3582(c) for an order reducing his sentence and granting immediate release

is DENIED.

           SO ORDERED.


                                                                                 /s/
                                                                          JOHN D. BATES
                                                                     United States District Judge
Dated: September 12, 2020




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